
231 P.3d 801 (2010)
235 Or. App. 366
David RYSTEDT, Petitioner,
v.
BOARD OF PAROLE AND POST-PRISON SUPERVISION, Respondent.
A134029.
Court of Appeals of Oregon.
Submitted August 28, 2009.
Decided May 19, 2010.
Andy Simrin filed the opening brief for petitioner. Peter Gartlan, Chief Defender, and Carolyn Bys, Deputy Public Defender, Appellate Division, Office of Public Defense Services, filed the supplemental brief.
John R. Kroger, Attorney General, Jerome Lidz, Solicitor General, and Jeremy C. Rice, Assistant Attorney General, filed the brief for respondent.
Before LANDAU, Presiding Judge, and ORTEGA, Judge, and CARSON, Senior Judge.
PER CURIAM.
Affirmed. Jones v. Board of Parole, 231 Or.App. 256, 218 P.3d 904 (2009), rev. den., 347 Or. 718, 226 P.3d 709 (2010).
